       Case 6:20-cv-00585-ADA Document 192-2 Filed 07/26/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


                                                )
 WSOU INVESTMENTS, LLC d/b/a BRAZOS             )
 LICENSING & DEVELOPMENT,                       )
                                                )       Case No. 6:20-cv-00585-ADA
               Plaintiff,                       )
                                                )
        v.                                      )
                                                )       JURY TRIAL DEMANDED
 GOOGLE, LLC                                    )
                                                )
               Defendant                        )
                                                )


     ORDER DENYING GOOGLE’S MOTION FOR SUMMARY JUDGMENT OF
            NON-INFRINGEMENT OF U.S. PATENT NO. 8,737,961

       This matter came before the Court on Defendant Google, LLC’s Motion for Summary

Judgment of Non-Infringement of U.S. Patent No. 8,737,961. (Dkt. 171).

       Having considered the Motion and supporting documents, this Court ORDERS that the

Motion be denied.




                                                    ALAN D ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
